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                             United States District Court
                             Western District of Kentucky
                                 Office of the Clerk
                                601 W. Broadway, Room 106
                               Louisville, Kentucky 40202-2249
                                        (502) 625-3500
                                   www.kywd.uscourts.gov

Vanessa L. Armstrong                                                            James Vilt
  Clerk of Court                                                            Chief Deputy Clerk

November 19, 2019

Re: Exhibit retrieval

Dear Counsel,

       Notice is hereby given that if the exhibits filed by you are not claimed within two (2)
weeks from the date of this letter, the exhibits will be destroyed pursuant to LCrR 55.2(c),
which states as follows:

       The clerk may direct counsel of record to retrieve their exhibits from the Clerk’s
       custody by a specific date. The Clerk may destroy any exhibits that remain unclaimed
       two weeks after counsel of record has been directed to retrieve them.

       Please contact me to arrange retrieval of your exhibits. Should you have any questions,
do not hesitate to contact this office at 502-625-3500.


                                                             Sincerely,
                                                             Vanessa L. Armstrong, Clerk

                                                             By:    /s/ Robin Johnson
                                                                    Deputy Clerk
